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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 17-1941-GW(Ex)                                             Date      December 6, 2017
 Title             Grant McKee v. Audible, Inc., et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                            None Present
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         None Present                                          None Present
 PROCEEDINGS:                   IN CHAMBERS:

                                RULING ON DEFENDANT AUDIBLE’S MOTION TO COMPEL
                                ARBITRATION AND DISMISS CLAIMS AS TO SETH BEALS [41];

                                DEFENDANT AUDIBLE’S MOTION TO DISMISS CLAIMS [42]


Upon further consideration, the Court adopts its October 26, 2017 Tentative Ruling (Docket No. 53) as
its final decision on the pending motions (Docket No. 41 and 42).




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                                                               Initials of Preparer   JG
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